          Case 2:22-bk-12229-WB                      Doc    Filed 11/26/24 Entered 11/26/24 07:55:47                                  Desc Main
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Fill in this information to identify the case:

Debtor 1              Edmond Chouteau

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the : Central                  District of California
                                                                              (State)

Case number           2:22-bk-12229-WB



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                  12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:             LAKEVIEW LOAN SERVICING, LLC                         Court claim no. (if known):         16

Last four digits of any number you                 XXXXXX0890                      Date of payment change:
use to identify the debtor’s account:                                              Must be at least 21 days after date of              1/1/2025
                                                                                   this notice

                                                                                   New total payment:
                                                                                   Principal, interest, and escrow, if any             $2,956.34

Part 1:         Escrow Account Payment Adjustment

1.     Will there be a change in the debtor’s escrow account payment?
        No
        Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
          for the change. If a statement is not attached, explain why: __________________________________________________________
          ___________________________________________________________________________________________________
           Current escrow payment:          $ 1,043.45                                     New escrow payment :          $ 917.18

Part 2:         Mortgage Payment Adjustment

2.     Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor’s
       variable-rate account?
        No
        Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
          explain why: ___________________________________

             Current interest rate:                         %                              New interest rate:          %

             Current principal and interest payment:        $ _________                    New principal and interest payment:           $ __________

Part 3:         Other Payment Change
3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      No
      Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
        (Court approval may be required before the payment change can take effect.)


           Reason for change: ____________________________________________________________________________


           Current mortgage payment:                $ _________                            New mortgage payment:             $ _________




Official Form 410S1                                Notice of Mortgage Payment Change                                                page 1
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 Debtor 1            Edmond Chouteau                                                Case number (if known) 2:22-bk-12229-WB
                    First Name Middle Name    Last Name


Part 4:         Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

     I am the creditor.
     I am the creditor’s authorized agent

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
knowledge, information, and reasonable belief.
X    /s/Fanny Wan                                                                      Date     11/19/2024
     Signature

Print:         Fanny                                                Wan                Title    Authorized Agent for Creditor
               First Name            Middle Name                    Last Name

Company        McCalla Raymer Leibert Pierce, LLC

Address        1544 Old Alabama Road
               Number      Street
               Roswell                       GA                      30076
               City                          State                   ZIP Code

Contact phone      883-290-7452                                                        Email    Fanny.Wan@mccalla.com




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                                                        Bankruptcy Case No.: 2:22-bk-12229-WB
  In Re:                                                Chapter:             13
           Edmond Chouteau                              Judge:               Julia W Brand

                                       CERTIFICATE OF SERVICE

       I, Fanny Wan, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road,
 Roswell, GA 30076, certify:

           That I am, and at all times hereinafter mentioned, was more than 18 years of age;

        That on the date below, I caused to be served a copy of the within NOTICE OF
 MORTGAGE PAYMENT CHANGE filed in this bankruptcy matter on the following parties at
 the addresses shown, by regular United States Mail, with proper postage affixed, unless another
 manner of service is expressly indicated:

 Edmond Chouteau
 5752 Chesley Avenue
 Los Angeles, CA 90043

 Benjamin Heston                                (Served via ECF at bhestonecf@gmail.com)
 100 Bayview Circle, Suite 100
 Newport Beach, CA 92660

 Nancy K Curry, Trustee                         (Served via ECF Notification)
 1000 Wilshire Blvd., Suite 870
 Los Angeles, CA 90017

 United States Trustee (LA)                     (Served via ECF Notification)
 915 Wilshire Blvd, Suite 1850
 Los Angeles, CA 90017

      I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
 AND CORRECT.

 Executed on:       11/26/2024         By:   /s/Fanny Wan
                     (date)                  Fanny Wan
                                             Authorized Agent for Creditor
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